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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-19576
         JERROLD DION FIKES SR

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 06/04/2015.

         2) The plan was confirmed on 07/23/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 07/26/2018.

         6) Number of months from filing to last payment: 34.

         7) Number of months case was pending: 39.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $15,354.43
       Less amount refunded to debtor                              $0.00

NET RECEIPTS:                                                                                   $15,354.43


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $4,000.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $663.75
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $4,663.75

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim       Principal      Int.
Name                                 Class   Scheduled      Asserted         Allowed        Paid         Paid
Account Control Technology/ACT   Unsecured      3,500.00            NA              NA            0.00       0.00
ADT SECURITY SER                 Unsecured            NA         829.68          829.68           0.00       0.00
ADT SECURITY SERVICES            Unsecured            NA         822.08          822.08           0.00       0.00
ADVOCATE MEDICAL GROUP           Unsecured            NA       1,150.78        1,150.78           0.00       0.00
ASSET ACCEPTANCE LLC             Unsecured         182.00           NA              NA            0.00       0.00
BANK OF AMERICA NA               Unsecured      1,085.00       1,085.63        1,085.63           0.00       0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured      2,420.00       2,090.00        2,090.00           0.00       0.00
CORPORATE AMERICA FAMILY CU      Unsecured      1,450.00            NA              NA            0.00       0.00
DIRECTV LLC                      Unsecured         226.00        226.90          226.90           0.00       0.00
DISH NETWORK                     Unsecured         159.00           NA              NA            0.00       0.00
DRIVER SOLUTIONS INC             Unsecured      3,640.00       3,669.16        3,669.16           0.00       0.00
ECMC                             Unsecured      5,134.00       7,154.25        7,154.25           0.00       0.00
FIFTH THIRD BANK                 Unsecured         180.00           NA              NA            0.00       0.00
GALWAY FINANCIAL SERVICES LLC    Unsecured         535.00           NA              NA            0.00       0.00
HALSTED FINANCIAL SERV           Unsecured            NA         300.00          300.00           0.00       0.00
IL STATE DISBURSEMENT UNIT       Priority      18,459.00     17,194.14        17,194.14     10,690.68        0.00
INTERNAL REVENUE SERVICE         Priority             NA           0.00            0.00           0.00       0.00
INTERNAL REVENUE SERVICE         Unsecured      5,000.00           0.00            0.00           0.00       0.00
JEWEL OSCO/US BANK               Unsecured         163.00           NA              NA            0.00       0.00
Lighthouse Financial             Unsecured      3,704.00            NA              NA            0.00       0.00
MB FINANCIAL                     Unsecured         687.00           NA              NA            0.00       0.00
PRA RECEIVABLES MGMT             Unsecured         939.00           NA              NA            0.00       0.00
TMobile                          Unsecured         648.00           NA              NA            0.00       0.00
TMobile                          Unsecured         556.00           NA              NA            0.00       0.00
UNITED COLLECTION BUREAU INC     Unsecured         195.00           NA              NA            0.00       0.00
US BANK NA                       Unsecured         429.00           NA              NA            0.00       0.00
VILLAGE OF HAZEL CREST           Unsecured         250.00           NA              NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                       $17,194.14         $10,690.68              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                    $0.00              $0.00              $0.00
 TOTAL PRIORITY:                                         $17,194.14         $10,690.68              $0.00

 GENERAL UNSECURED PAYMENTS:                             $17,328.48                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $4,663.75
         Disbursements to Creditors                            $10,690.68

TOTAL DISBURSEMENTS :                                                                      $15,354.43


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/27/2018                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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